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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

Plaintiff,
CASE NO. 16-125(ADC)

Vv.

[27] EDDIE J. VIDAL MORAN a.k.a “Scarface”

 

 

Defendant.
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PLEA AGREEMENT =
(Pursuant to Rule 11(c)(1)(A) and (B) FRCP) nO
TO THE HONORABLE COURT: a
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COMES NOW the United States of America through its counsel Rosa Emilia Rodriggez-
Vélez, United States Attorney for the District of Puerto Rico; Jose Capé-Iriarte, Assistant United
States Attorney, Chief, Criminal Division; Alberto R. Lopez-Rocafort, Assistant U.S. Attorney,
Deputy Chief, Narcotics Unit; Assistant U.S, Attorney, Teresa S. Zapata Valladares, Assistant U.S.
Attorney and defendant’s counsel, Diego Alcala, Esq., and defendant [27] EDDIE J. VIDAL
MORAN pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, state to this
Honorable Court, that they have reached an agreement, the terms and conditions of which are as
follows:

1. COUNTS TO WHICH DEFENDANT PLEADS GUILTY

The defendant agrees to plead guilty to Count One of the Indictment. Count One charges:
Beginning no later than the year 2009 and continuing up to and until] March 2016 in the Municipality
of Ponce and other areas nearby, in the District of Puerto Rico, and elsewhere within the jurisdiction

of this Court [27] EDDIE J. VIDALMORAN, and other persons did knowingly and intentionally,

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combine, conspire, and agree with each other and with diverse other persons known and unknown to
the Grand Jury, to commit an offense against the United States, that is, the defendants herein
conspired to knowingly and intentionally possess with intent to distribute controlled substances, to
wit: of two-hundred and eighty (280) grams or more of a mixture or substance containing a detectable
amount of cocaine base (crack), a Schedule Narcotic Drug Controlled Substance; one (1) kilogram
or more of a mixture or substance containing a detectable amount of heroin, a Schedule I, Narcotic’
Drug Controlled Substance; (5) kilograms or more of a mixture or substance containing a detectable
amount of cocaine, a Schedule II, Narcotic Drug Controlled Substance; one hundred (100) kilograms
or more of a mixture or substance containing a detectable amount of marijuana, a Schedule I,
Controlled Substance; all within one thousand (1,000) feet of the real property comprising the
Santiago Iglesias Public Housing Project, a housing facility owned by a public housing authority, and
other areas nearby and within the Municipality of Ponce, Puerto Rico. Al in violation of Title 21,
United States Code Sections 841(a)(1), 846 and 860,
2. MAXIMUM PENALTIES
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In regard to COUNT ONE, the penalty for the offense charged is a term of imprisonment which
shall not be less than ten (10) years and up to two (2) terms of life, a fine not to exceed Twenty million

dollars ($20,000,000.00) and a term of supervised release of not less than ten (10) years in addition to

any term of incarceration, pursuant to Title 21, United States Code, §§ 841(b)(1)(A), 846, and 860.

 

However, based on the stipulated and agreed amount of narcotics possessed by the defendant,
that is, at least 2 kilograms but less than 3.5 kilograms of cocaine, the defendant faces a minimum
sentence of five (5) years of imprisonment and a maximum term of imprisonment of eighty (80) years, a

fine not to exceed Ten million dollars ($10,000,000.00), and a term of supervised release of not less than

 

 

 
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eight (8) years in addition to any term of incarceration, pursuant to Title 21, United States Code, §§

 

841(b)(1)(B), 846, and 860.

3. ADVISORY NATURE OF THE SENTENCING GUIDELINES

The defendant is aware that pursuant to the decisions issued on January 12, 2005, by the
Supreme Court of the United States in the case of United States v. Booker, 543 U.S. 220 (2005), the
Sentencing Guidelines are no longer mandatory and must be considered effectively advisory. Further,
the defendant acknowledges to be aware that parole has been abolished and the imposition of a sentence
may not be suspended.

4, SPECIAL MONETARY ASSESSMENT

Prior to defendant’s change of plea hearing, the defendant shall pay a special monetary
assessment of one hundred dollars ($100.00) per count of conviction.

5. FINES AND RESTITUTION

The defendant is aware that the Court may, pursuant to Section 5E1.2 of the Sentencing
Guidelines Manual, order the defendant to pay a fine sufficient to reimburse the government for the
costs of any imprisonment, probation or supervised release ordered and also the Court may impose
restitution. As part of this Plea Agreement, the defendant agrees to produce complete information
regarding all restitution victims and defendant agrees to execute a financial statement to the United
States (OBD Form 500). The United States will make no recommendations as to the imposition of fines.

6. RULE 11(c)(1)(B) WARNINGS

The defendant is aware that the defendant's sentence is within the sound discretion of the
sentencing judge and the advisory Sentencing Guidelines (including the Guidelines Policy Statements,

Application, and Background Notes). The defendant understands and acknowledges that the Court is

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not a party to this Plea Agreement and ‘thus, is not bound by this agreement or the sentencing
calculations and/or recommendations contained herein. Defendant specifically acknowledges and
admits that the Court has jurisdiction and authority to impose any sentence within the statutory
maximum set for the offense to which the defendant pleads guilty. Defendant is aware that the court
may accept or reject the Plea Agreement, or may defer its decision whether to accept or reject the Plea
Agreement until it has considered the pre-sentence report. Should the Court impose a sentence up to the
maximum established by statute, the defendant cannot, for that reason alone, withdraw the guilty plea,
and will remain bound to fulfill all of the obligations under this Plea Agreement.

7. SENTENCING GUIDELINES CALCULATIONS

Although the Guidelines are now advisory, United States v. Booker, 125 §.Ct. 738, 744, (2005),
makes clear the sentencing court is requited to consider the Guidelines “sentencing range established
for.,. the applicable category of offense committed by the applicable category of defendant” in imposing

sentence. Booker, 125 S.Ct. At 744. Therefore, the United States and the defendant submit the

following advisory Sentencing Guidelines calculations as to COUNT ONE:

 
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PLEA AGREEMENT SENTENCING GUIDELINES CALCULATION TABLE

 

COUNT ONE
Title 21, U.S.C., § 841(a)(1), 846 and 860

 

BASE OFFENSE LEVEL [U.S.S.G. § 2D1.1(c)(7)]
At least 2 kilograms but less than 3.5 kilograms of cocaine

 

 

 

 

 

(CHC)

 

 

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Protected Location [U.S.S.G, § 2D1.2(a)(1)] +2
Special Offense Characteristic: Firearm [U.S.S.G. §2D1.1(b)(1)] +2
x Acceptance of Responsibility [U.S.S.G. § 3E1.1] -3
TOTAL OFFENSE LEVEL 27
There is no stipulation as to defendant’s Criminal History Category CHC I 70-87
CHC II 78-97

 

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SENTENCE RECOMMENDATION: ; After due consideration of the relevant factors

enumerated in 18 U.S.C. § 3553(a), if defendant is CHC I the parties reserve the right to recommend a

sentence within the applicable Guideline Sentencing Range for a total offense level of 27. If defendant is

CHC II, the parties agree to recommend a sentence at a total offense level of 27, that is 78 months of

imprisonment. If defendant is CHC III or higher the parties reserve the right to recommend a sentence

within the applicable Guideline Sentencing Range for a total offense level of 27 when combined with

defendant’s criminal history category as determined by the Court. The parties agree that any

recommendation for a term of imprisonment below the above stipulated will be a material breach of the

plea agreement. The parties further agree that defendant may request that the sentence imposed in the

instant case run concurrent to the sentence imposed in state cases JLA2015G00114 and 114 and

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JSC2015G0228.

 

 
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CRIMINAL HISTORY CATEGORY: The parties make NO stipulation as to defendant’s

Criminal History Category.

8. NO FURTHER ADJUSTMENTS OR DEPARTURES

The United States and the defendant agree that no further adjustment or departures to the
defendant's base offense level shall be sought by the parties.

9, WAIVER OF APPEAL |

The defendant hereby agrees that if this Honorable Court accepts this Plea Agreement and
sentences him according to its terms, conditions and recommendations, defendant waives and surrenders
his right to appeal the judgment and sentence in this case.

10. SATISFACTION WITH COUNSEL

The defendant represents to the Court to be satisfied with defendant’s counsel, Diego Alcala,
Esq., and indicates that counsel has rendered effective legal assistance.

11. | RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

Defendant understands that by entering into this agreement, defendant surrenders certain rights
as provided in this agreement. Defendant understands that the rights of criminal defendants include the
following: |

a. Ifthe defendant had persisted ina plea of not guilty to the charges, defendant would have
had the right to a speedy jury trial with the assistance of counsel. The trial may be conducted by a judge
sitting without a jury if the defendant, the United States and the judge agree.

b. Ifa jury trial is conducted, the jury would be composed of twelve lay persons selected at
random. The defendant and the defendant's attorney would assist in selecting the jurors by removing

prospective jurors for cause where actual bias or other disqualification is shown, or by removing

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prospective jurors without cause by exercising peremptory challenges. The jury would have to agree,
unanimously, before it could return a verdict of cither guilty or not guilty. The jury would be instructed
that the defendant is presumed innocent, that it could not convict the defendant unless, after hearing all
the evidence, it was persuaded of the defendant's guilt beyond a reasonable doubt, and that it was to
consider each charge separately.

C. If a trial is held by the judge without a jury, the judge would find the facts and, after
hearing all the evidence and considering each count separately, determine whether or not the evidence
established the defendant's guilt beyond a reasonable doubt.

d. Ata trial, the United States would be required to present its witnesses and other evidence
against the defendant. The defendant would be able to confront those witnesses and defendant's attorney
would be able to cross-examine them. In turn, the defendant could present witnesses and other evidence
on defendant's own behalf. If the witnesses for the defendant would not appear voluntarily, defendant -
could require their attendance through the subpoena power of the Court.

6. Ata trial, the defendant could rely on the privilege against self-incrimination to decline to
testify, and no inference of guilty could be drawn from the defendant's refusal to testify. Ifthe defendant
desired to do so, the defendant could testify on the defendant's own behalf.

12, DISMISSAL OF REMAINING COUNTS:

At sentencing, the United States shall request the dismissal of the remaining counts of the

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Indictment.

13. STATEMENT OF FACTS
The accompanying Statement of Facts signed by the defendant is hereby incorporated into this

Plea Agreement. Defendant adopts the Statement of Facts and agrees that the facts therein are accurate

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in every respect and, had the matter proceeded to trial, that the United States would have proven those

facts beyond a reasonable doubt.
14. LIMITATIONS OF PLEA AGREEMENT

This plea agreement binds only the United States Attorney’s Office for the District of Puerto
Rico and the defendant; it does not bind any other federal district, state or local authorities

15. ENTIRETY OF PLEA AGREEMENT

This written agreement constitutes the complete Plea Agreement between the United States, the
defendant, and the defendant's counsel. The United States has made no promises or representations
except as set forth in writing in this plea agreement and deny the existence of any other term and
conditions not stated herein.

16. AMENDMENTS TO PLEA AGREEMENT

No other promises, terms, conditions will be entered unless in writing, signed by all parties.

17. VOLUNTARINESS OF GUILTY PLEA |

The defendant acknowledges that no threats have been made against the defendant and that the

defendant is pleading guilty freely and voluntarily because the defendant is guilty.

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RESPECTFULLY SUBMITTED.
ROSA EMILIA RODRIGUEZ-VELEZ

United States Attgmney yy
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J pnatic eer Aleal Esq 7/7
Ssi S. Attorney Counsel for Defendant
Chief, Criminal Diyision Dated: 2/2/reV¢

Dated: 7} 1! Mi ,

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Alberto R. Lopez-Rocafort EDDIE J. VIDAL MORAN
Assistant U.S, Attorney Defendant
Deputy Chief, Narcotics Unit Dated:

Dated: 77 (eve Wyr( ole

 
      

ta Valladares

Assistant Us. Attorney

 
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I have consulted with my counsel and fully understand all of my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines, Policy Statements, Application, and
Background Notes which may apply in my case. I have read this Plea Agreement and carefully reviewed
every part of it with my attorney. I fully understand this agreement and I voluntarily agree to it. My
counsel has translated the plea agreement to me in the Spanish language and I have no doubts as to the

contents of the agreement. I fully understand this agreement and I voluntarily agree to it.

Date: Z Jap Lys ,; ; a
/ Mk fee MORAN

Defendant

 

I am the attorney for the defendant. ] have fully explained to the defendant her rights with
respect to the pending Indictment. Further, I have reviewed the provisions of the Sentencing Guidelines,
Policy Statements, Application, and Background Notes, and I have fully explained to the defendant the
provisions of those guidelines which may apply in this case. I have carefully reviewed every part this
Plea Agreement with the defendant. I have translated the plea agreement and explained it in the Spanish
language to the defendant who has expressed having no doubts as to the contents of the agreement. To
my knowledge, the defendant is entering, into this agreement voluntarily, intelligently and with full

knowledge of all consequences of defendant’s plea of guilty.

Date: 2he/' D016 Lb ML {

Dido Alcala Esq. J
Counsel for Defendant

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STATEMENT OF FACTS

In conjunction with the submission of the accompanying plea agreement in this case, the
United States of America submits the following statement setting forth the United States’ version of
the facts leading to the defendant's acceptance of criminal responsibility for defendant’s violations of
Title 21, United States Code, §§ 841, 846, and 860. The following is a synopsis of the facts in this
case:

Beginning no later than the year 2009 and continuing up to and until March 2016 in the
Municipality of Ponce and other areas nearby, in the District of Puerto Rico, and elsewhere within the
jurisdiction of this Court [27] EDDIE J. VIDAL MORAN, and other persons did knowingly and
intentionally, combine, conspire, and agree with each other and with diverse other persons known and
unknown to the Grand Jury, to commit an offense against the United States, that is, the defendants
herein conspired to knowingly and intentionally possess with intent to distribute controlled substances,
to wit: of two-hundred and eighty (280) grams or more ofa mixture or substance containing a detectable
amount of cocaine base (crack), a Schedule II Narcotic Drug Controlled Substance; one (1) kilogram or
more of a mixture or substance containing a detectable amount of heroin, a Schedule I, Narcotic Drug
Controlled Substance; (5) kilograms or more of a mixture or substance containing a detectable amount
of cocaine, a Schedule II, Narcotic Drug Controlled Substance; one hundred (100) kilograms or more of

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a mixture or substance containing a detectable amount of marijuana, a Schedule I, Controlled Substance;

all within one thousand (1,000) feet of the real property comprising the Santiago Iglesias Public Housing

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Project, a housing facility owned by a public housing authority, and other areas nearby and within the
Municipality of Ponce, Puerto Rico. All in violation of Title 21, United States Code Sections 841(a)(1),
846 and 860.

The object of the conspiracy was to distribute controlled substances at Santiago Iglesias Public
Housing Project, a housing facility owned by a public housing authority, and other areas nearby and
within the Municipality of Ponce, Puerto Rico for financial gain and profit. Defendant [27] EDDIE J.
VIDAL MORAN was a seller of the drug trafficking organization. As such, he would be responsible for
the street level distribution of the organization’s controlled substances within the Santiago Iglesias
Public Housing Project. At times he would possess firearms and would allow other members of the
conspiracy to possess firearms to further the objectives of the conspiracy. While multiple kilograms of
heroin, marijuana, cocaine, and cocaine base were distributed during the conspiracy, for purposes of this
plea agreement the defendant acknowledges that during the span of the conspiracy he possessed with
intent to distribute at least 2 kilograms but less than 3.5 kilograms of cocaine.

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At trial, the United States would’have proven beyond a reasonable doubt that defendant [27]
EDDIE J. VIDAL MORAN is guilty as charged in COUNT ONE of the Indictment by presenting
physical and documentary evidence, photographs, audio and video recordings, testimony of a forensic

chemist as an expert witness, cooperating witnesses, as well as the testimony of law enforcement agents

among others,

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Full digcovery has been timely provided tothe defendant, |

 

 

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